                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )       NO. 3:12-00013
                                                   )       JUDGE CAMPBELL
MANILA VICHITVONGSA, et al.                        )

                                            ORDER



       Pending before the Court is Defendant Manila Vichitvongsa’s Motion to Excuse Counsel’s

Presence from Status Conference (Docket No. 229) scheduled for November 5, 2012.

       Pursuant to Order (Docket No. 219) entered October 2, 2012, the Motion is moot. The status

conference was RESCHEDULED for November 26, 2012, at 1:00 p.m.

       It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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